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San Diego, California




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  Attorneys at Law




                        14                      UNITED STATES DISTRICT COURT
                        15                   NORTHERN DISTRICT OF CALIFORNIA
                        16 THERESA BROOKE, a married                  Case No. 3:17-CV-06167-EMC
                        17 woman dealing with sole and
                           separate claim,                           JOINT STIPULATION AND
                        18                                           [PROPOSED] ORDER FOR
                                                        Plaintiff,   DISMISSAL WITH PREJUDICE
                        19

                        20        vs.

                        21 RAPS HAYWARD, LLC, a                      Ct. Rm.:   5
                           California limited liability company,     Judge:     Hon. Edward M. Chen
                        22
                           dba, Pacific Euro Hotel,
                        23                                           Complaint Filed: March 21, 2017
                                                      Defendant.     Trial Date:      Not Yet Set
                        24

                        25

                        26        The parties to this action, acting through counsel, and pursuant to Federal
                        27 Rules of Civil Procedure 41(a)(1)(A)(ii) hereby stipulate, in consideration of a

                        28
                                                                            Case No.: 3:17-CV-06167-EMC
                                                                            JOINT STIPULATION AND [PROPOSED]
                                                                            ORDER FOR DISMISSAL WITH PREJUDICE
                                                                     -1-
                              Case 3:17-cv-06167-EMC Document 30 Filed 05/23/18 Page 2 of 3



                         1 negotiated settlement executed by them, to the Dismissal With Prejudice of this

                         2 action, including all claims and counterclaims stated herein against all parties,

                         3 with each party to bear its own attorney’s fees and costs.

                         4
                             Dated: May 22, 2018           PATEL | STILWELL, LLP
                         5

                         6                                   /s/ ANDREW R. STILWELL
                                                             ANDREW R. STILWELL, ESQ.
                         7
                                                             DARSHAN PATEL, ESQ.
                         8                                   Attorneys for DEFENDANT,
                         9                                   RAPS HAYWARD, LLC

                        10

                        11
                             Dated: May 22, 2018           STROJNIK FIRM, LLC
                        12
San Diego, California




                        13                                   /s/ PETER K. STROJNIK
  Attorneys at Law




                                                             PETER KRISTOFER STROJNIK, ESQ.
                        14                                   Attorney for Plaintiff,
                        15                                   THERESA BROOKE
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                                                                            Case No.: 3:17-CV-06167-EMC
                                                                            JOINT STIPULATION AND [PROPOSED]
                                                                            ORDER FOR DISMISSAL WITH PREJUDICE
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                              Case 3:17-cv-06167-EMC Document 30 Filed 05/23/18 Page 3 of 3



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                         8                      UNITED STATES DISTRICT COURT
                         9                    NORTHERN DISTRICT OF CALIFORNIA
                        10   THERESA BROOKE, a married                Case No. 3:17-CV-06167-EMC
                             woman dealing with sole and
                        11                                            [PROPOSED] ORDER GRANTING
                             separate claim,
                        12                                 Plaintiff, JOINT STIPULATION FOR
                                   vs.                                DISMISSAL WITH PREJUDICE
San Diego, California




                        13
  Attorneys at Law




                             RAPS HAYWARD, LLC, a
                        14   California limited liability company,
                             dba, Pacific Euro Hotel,                 Ct. Rm.: Courtroom 5
                        15
                                                         Defendant. Judge:        Hon. Edward M. Chen
                        16                                            Complaint Filed: March 21, 2017
                                                                      Trial Date:        Not Yet Set
                        17

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                        19 The Court having considered the Stipulation of the parties, orders as follows:

                        20        1.   The action is dismissed with prejudice.
                        21        2.    Each Party shall bear their own costs and attorneys’ fees.
                        22        3.   The Court shall retain jurisdiction over this matter to enforce the
                        23        terms of the Settlement Agreement                    S DISTRICT
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                                  IT IS SO ORDERED.
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                        25 DATE:          5/23/18                                 IT IS S
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                                                                            JUDGE wOF         THE
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                                                                               Judge E
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                                                                            STATES DISTRICT COURT
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                        28                                                    Case No.: 3:17-CV-06167-EMC
                                                                              [PROPOSED] ORDER GRANTING JOINT
                                                                              STIPULATION FOR DISMISSAL WITH
                                                                              PREJUDICE
                                                                   -1-
